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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06CR3145
           v.                       )
                                    )
TALLAS LAPAUL HARRIS,               )
                                    )                     ORDER
                Defendants.         )
                                    )


     The defendant’s counsel has advised the court that the
defendant needs additional time to prepare for the plea hearing
currently set for March 14, 2007. The defendant has orally moved
to continue the plea hearing. The government does not oppose
this motion.

     IT IS ORDERED:

     1.    The defendant’s unopposed oral motion for a continuance
           of the plea hearing is granted, and the hearing on the
           defendant’s anticipated plea of guilty is continued to
           April 3, 2007 at 1:30 p.m., in Courtroom No. 2, United
           States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska. Defendant shall appear
           at this hearing.

     2.    The ends of justice will be served by granting the
           motion for continuance, and outweigh the interests of
           the public and the defendant in a speedy trial, and the
           additional time arising as a result of the granting of
           the motion, (the time between today’s date and April 3,
           2007) shall be deemed excludable time in any
           computation of time under the requirements of the
           Speedy Trial Act, for the reason that the defendant and
           his counsel require additional time to adequately
           prepare the case, taking into consideration due
           diligence of counsel, the novelty and complexity of the
           case, and the fact that the failure to grant additional
           time might result in a miscarriage of justice. 18
           U.S.C. § 3161(h)(8)(A) & (B).

     Dated: March 12, 2007               BY THE COURT:


                                         s/ David L. Piester
                                         United States Magistrate Judge
